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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

SHAHADAH SAINPAULIN,
                                                          ORDER

                     Plaintiff,                           6:21-CV-06396 EAW

              v.

FINGERLAKES DDSO,

                 Defendant.
____________________________________


       Plaintiff has submitted a complaint, along with an affirmation of poverty, and seeks

permission to proceed in forma pauperis pursuant to 28 U.S.C. § 1915. (Dkt. 1; Dkt. 2).

For the reasons set forth below, Plaintiff’s application to proceed in forma pauperis (Dkt.

2) is denied without prejudice.

       Plaintiff bears the burden of establishing her indigence. See Potnick v. E. State

Hosp., 791 F.2d 243, 244 (2d Cir. 1983). “[O]ne [need not] be absolutely destitute to enjoy

the benefit” of the in forma pauperis statute. Adkins v. DuPont de Nemours & Co., 335

U.S. 331, 338 (1948); see also Potnick, 701 F.2d at 244 (“Section 1915(a) does not require

a litigant to demonstrate absolute destitution; no party must be made to choose between

abandoning a potentially meritorious claim or foregoing the necessities of life.”). Rather,

“[a]n affidavit to proceed in forma pauperis is sufficient if it indicates that one cannot,

because of his poverty, afford to pay the costs of litigation and still provide himself and his

dependents with the necessities of life.” Kilichowski v. Hocky, No. 99-CV-2874 JG, 1999


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WL 504285, at *1 (E.D.N.Y. July 5, 1999). “In assessing an application to proceed in

forma pauperis, a court may consider the resources that the applicant has or ‘can get’ from

those who ordinarily provide the applicant with the ‘necessities of life,’ such as ‘from a

spouse, parent, adult sibling or other next friend.’” Fridman v. City of N.Y., 195 F. Supp.

2d 534, 537 (S.D.N.Y. 2002) (quoting Williams v. Spencer, 455 F. Supp. 205, 208-09 (D.

Md. 1978)); see Monti v. McKeon, 600 F. Supp. 112, 114 (D. Conn. 1984) (“[I]n ruling on

motions to proceed in forma pauperis, other courts have considered the income of

interested persons, such as spouses and parents, in evaluating the funds available to the

movant.”), aff’d, 788 F.2d 1 (2d Cir. 1985).

       In her application, Plaintiff indicates that she has a gross monthly income of $2,040

and that she has $2,800 in a checking account. (Dkt. 2 at ¶¶ 3, 5). Further, in response to

the question “List all of the people who live in your household and state the amount of

money each one contributes to household expenses each month,” Plaintiff has listed three

individuals, but has provide a contribution amount for only one. (Id. at ¶ 10). Plaintiff has

listed those same three individuals as “persons who are dependent upon [her] for support,”

but has failed to state “[her] relationship to such persons” or “how much [she] contributes

toward their support.” (Id. at ¶ 11). It is thus unclear whether these individuals are minor

children whom Plaintiff is responsible for supporting or if they are adult household

members who contribute additional funds. This information makes a significant difference

in assessing Plaintiff’s financial situation.

       Based on her representations, it is unclear whether Plaintiff’s financial

circumstances are such that she would be required to forgo “the necessities of life” if she

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is required to pay the filing fee. See Potnick, 701 F.2d at 244. That is, the Court does not

have a complete picture of Plaintiff’s finances.

         Because Plaintiff has not met her burden of establishing her indigence based on the

present record, permission to proceed in forma pauperis is denied without prejudice.

Plaintiff may either submit a renewed application for in forma pauperis status or pay the

filing fee of $402.001 on or before May 27, 2022. If Plaintiff does not submit a renewed

application or pay the filing fee by May 27, 2022, the Clerk of Court is directed to close

this case as dismissed without prejudice without further order of the Court.

         SO ORDERED.



                                                   _________________________________
                                                   ELIZABETH A. WOLFORD
                                                   Chief Judge
                                                   United States District Court

Dated:         April 29, 2022
               Rochester, New York




1
        An additional administrative fee of $52.00 has been added to the total cost of filing
a civil lawsuit in District Court, which brings the total cost to $402.00. This additional
administrative fee does not apply to prisoners who are granted permission to proceed in
forma pauperis.
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